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          U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                               Miami District Office
                                                                                            100 SE 2nd St, Suite 1500
                                                                                                    Miami, FL 33131
                                                                                                     (800) 669-4000
                                                                                             Website: www.eeoc.gov


                         DISMISSAL AND NOTICE OF RIGHTS
                         (This Notice replaces EEOC FORMS 161 & 161-A)

                                         Issued On: 04/30/2023
  To: Rose Thevenin
      10531 SW 161 Ave.
      Miami, FL 33196
  Charge No: 510-2022-05998
  EEOC Representative and email:       ROBERT TOM
                                       Investigator
                                       robert.tom@eeoc.gov


                                     DISMISSAL OF CHARGE

  The EEOC has granted your request for a Notice of Right to Sue, and more than 180 days have
  passed since the filing of this charge.
  The EEOC is terminating its processing of this charge.

                                NOTICE OF YOUR RIGHT TO SUE

  This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
  you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
  or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
  Receipt generally occurs on the date that you (or your representative) view this document. You
  should keep a record of the date you received this notice. Your right to sue based on this charge
  will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
  based on a claim under state law may be different.)
  If you file a lawsuit based on this charge, please sign-in to the EEOC Public Portal and upload the
  court complaint to charge 510-2022-05998.

                                                 On behalf of the Commission,

                                                 Digitally Signed By:Evangeline Hawthorne
                                                 04/30/2023
                                                 Evangeline Hawthorne
                                                 Director
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  Cc:
  Robyn Swaby
  15800 NW 42ND AVE
  MIAMI GARDENS, FL 33054

  Michelle Levy
  The Law Office of Michelle Cohen Levy, P.A.
  4400 N. Federal Hwy
  Lighthouse Point, FL 33064


  Please retain this notice for your records.
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                                 INFORMATION RELATED TO FILING SUIT
                                UNDER THE LAWS ENFORCED BY THE EEOC
   (This information relates to filing suit in Federal or State court under Federal law. If you also
  plan to sue claiming violations of State law, please be aware that time limits may be shorter and
             other provisions of State law may be different than those described below.)

  IMPORTANT TIME LIMITS – 90 DAYS TO FILE A LAWSUIT
  If you choose to file a lawsuit against the respondent(s) named in the charge of discrimination,
  you must file a complaint in court within 90 days of the date you receive this Notice. Receipt
  generally means the date when you (or your representative) opened this email or mail. You should
  keep a record of the date you received this notice. Once this 90-day period has passed, your
  right to sue based on the charge referred to in this Notice will be lost. If you intend to consult an
  attorney, you should do so promptly. Give your attorney a copy of this Notice, and the record of
  your receiving it (email or envelope).
  If your lawsuit includes a claim under the Equal Pay Act (EPA), you must file your complaint
  in court within 2 years (3 years for willful violations) of the date you did not receive equal pay.
  This time limit for filing an EPA lawsuit is separate from the 90-day filing period under Title
  VII, the ADA, GINA or the ADEA referred to above. Therefore, if you also plan to sue under
  Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA claim, your lawsuit
  must be filed within 90 days of this Notice and within the 2- or 3-year EPA period.
  Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction.
  Whether you file in Federal or State court is a matter for you to decide after talking to your
  attorney. You must file a "complaint" that contains a short statement of the facts of your case
  which shows that you are entitled to relief. Filing this Notice is not enough. For more information
  about filing a lawsuit, go to https://www.eeoc.gov/employees/lawsuit.cfm.
  ATTORNEY REPRESENTATION
  For information about locating an attorney to represent you, go to:
  https://www.eeoc.gov/employees/lawsuit.cfm.
  In very limited circumstances, a U.S. District Court may appoint an attorney to represent individuals
  who demonstrate that they are financially unable to afford an attorney.

  HOW TO REQUEST YOUR CHARGE FILE AND 90-DAY TIME LIMIT FOR REQUESTS
  There are two ways to request a charge file: 1) a FOIA Request or 2) a Section 83 request. You may
  request your charge file under either or both procedures. EEOC can generally respond to Section 83
  requests more promptly than FOIA requests.
  Since a lawsuit must be filed within 90 days of this notice, please submit your request for the charge
  file promptly to allow sufficient time for EEOC to respond and for your review. Submit a signed
  written request stating it is a “FOIA Request” or a “Section 83 Request” for Charge Number 510-
  2022-05998 to the District Director at Evangeline Hawthorne, 100 SE 2nd St Suite 1500
  Miami, FL 33131.
  You can also make a FOIA request online at https://eeoc.arkcase.com/foia/portal/login.
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  You may request the charge file up to 90 days after receiving this Notice of Right to Sue. After the
  90 days have passed, you may request the charge file only if you have filed a lawsuit in court and
  provide a copy of the court complaint to EEOC.
  For more information on submitting FOIA Requests and Section 83 Requests, go to:
  https://www.eeoc.gov/eeoc/foia/index.cfm.

       NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA)
  The ADA was amended, effective January 1, 2009, to broaden the definitions of disability to make
  it easier for individuals to be covered under the ADA/ADAAA. A disability is still defined as (1)
  a physical or mental impairment that substantially limits one or more major life activities (actual
  disability); (2) a record of a substantially limiting impairment; or (3) being regarded as having a
  disability. However, these terms are redefined, and it is easier to be covered under the new law.
  If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share
  this information with your attorney and suggest that he or she consult the amended regulations and
  appendix, and other ADA related publications, available at:
  http://www.eeoc.gov/laws/types/disability_regulations.cfm.

  “Actual” disability or a “record of” a disability
  If you are pursuing a failure to accommodate claim you must meet the standards for either “actual”
  or “record of” a disability:
        The limitations from the impairment no longer must be severe or significant for the
         impairment to be considered substantially limiting.
        In addition to activities such as performing manual tasks, walking, seeing, hearing,
         speaking, breathing, learning, thinking, concentrating, reading, bending, and
         communicating (more examples at 29 C.F.R. § 1630.2(i)), “major life activities” now
         include the operation of major bodily functions, such as: functions of the immune
         system, special sense organs and skin; normal cell growth; and digestive, genitourinary,
         bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,
         hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an
         individual organ within a body system.
        Only one major life activity need be substantially limited.
        Except for ordinary eyeglasses or contact lenses, the beneficial effects of “mitigating
         measures” (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications)
         are not considered in determining if the impairment substantially limits a major life
         activity.
        An impairment that is “episodic” (e.g., epilepsy, depression, multiple sclerosis) or “in
         remission” (e.g., cancer) is a disability if it would be substantially limiting when active.
        An impairment may be substantially limiting even though it lasts or is expected to last
         fewer than six months.
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  “Regarded as” coverage
  An individual can meet the definition of disability if an employment action was taken because
  of an actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary
  leave, termination, exclusion for failure to meet a qualification standard, harassment, or denial of
  any other term, condition, or privilege of employment).
        “Regarded as” coverage under the ADAAA no longer requires that an impairment be
         substantially limiting, or that the employer perceives the impairment to be substantially
         limiting.
           The employer has a defense against a “regarded as” claim only when the impairment at
            issue is objectively both transitory (lasting or expected to last six months or less) and
            minor.
        A person is not able to bring a failure to accommodate claim if the individual is covered
         only under the “regarded as” definition of “disability”.
  Note: Although the amended ADA states that the definition of disability “shall be construed
  broadly” and “should not demand extensive analysis,” some courts require specificity in the
  complaint explaining how an impairment substantially limits a major life activity or what facts
  indicate the challenged employment action was because of the impairment. Beyond the initial
  pleading stage, some courts will require specific evidence to establish disability. For
  moreinformation, consult the amended regulations and appendix, as well as explanatory
  publications, available at http://www.eeoc.gov/laws/types/disability_regulations.cfm.
